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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
H.U.C.U. et al.,
Plaintiffs,
against- Case: 1:19-cv-01964
Assigned To : Bates, John D.
Assign. Date : 7/1/2019
BARR et al., Description: TRO/Prelim. Injunct. (D-DECK)
Defendants.
APPLICATION FOR A TEMPORARY
RESTRAINING ORDER
l. Plaintiffs in this matter are G.M.C.B., a child widely reported in national news media as

an “inconsolable seven-year old” girl unlawfully separated from her relatives and then detained
in horrific, abusive and abjectly cruel conditions at U.S. Customs and Border Protection (“CBP”)
Clint Border Patrol Station, and her parents, H.U.C.U. and M.G.B.V, who are desperate to be
reunited and to be able to care for their vulnerable and traumatized child.

2. Defendants are the federal agencies and officials who unlawfully detained G.M.C.B. in
deplorable, unsafe, and unsanitary conditions, in violation of federal law, regulations, the Flores
Settlement Agreement! (hereinafter “FSA” or the “Settlement”), and the Fifth and Eighth
Amendments to the United States Constitution. Defendants include the following agencies and
their culpable officials: U.S. Department of Homeland Security (“DHS”); U.S. Immigration and
Customs Enforcement (“ICE”); U.S. Customs and Border Protection (“CBP”); U.S. Department

of Health and Human Services (“HHS”); and U.S. Office of Refugee Resettlement (“ORR”).

 

' Arising from longstanding litigation in the matter of Flores v. Sessions, CV-85-4544 (C.D. Cal.).
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3. By this application for a temporary restraining order pursuant to Federal Rule of Civil
Procedure 65(b), Plaintiffs seek the immediate de-designation of G.M.C.B. as an
“unaccompanied alien child” (“UAC”), ordering the return to the status quo ex ante prior to
G.M.C.B.’s unlawful detention and the re-unification of seven-year old G.M.C.B. with her
parents pending the adjudication of their claims.

4. In compliance with Rule 65(b) and Local Civil Rule 65.1(a), undersigned counsel
notified defense counsel of this application and furnished to defense counsel all documents filed

in this case, as described on the last page of this document.

RELIEF REQUESTED

5. Plaintiffs seek a temporary restraining order requiring Defendants to:

a. immediately declare that Plaintiff G.M.C.B. is not an UAC within the statutory
definition provided by the “Homeland Security Act (the “HSA”), 6 U.S.C. §
279(g)(2);

b. immediately return to the “status quo ante” tn which G.M.C.B. has not been
designated a UAC or placed in a restrictive detention setting — the “ante”
formulation of the status quo in the realm of equities required to prevent
Defendants seeking shelter under a current “status quo” precipitated by its
wrongdoing;

c. provide Plaintiffs with frequent, easily facilitated, and confidential
communication pending their reunion.

FACTS

 

2 See Holt v. Cont'l Grp., Inc., 708 F.2d 87, 90 (2d Cir. 1983) (referring to reinstatement of benefits as “restoration
of the status quo ante”); accord O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft, 389 F.3d 973, 1013
(10th Cir. 2004) (en banc) (per curiam) (“requir[ing] a party who has disturbed the status quo to reverse its actions ...
restores, rather than disturbs, the status quo ante, and is thus not an exception” to the ordinary standard for
preliminary injunctions).
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6. G.M.C.B. is a seven-year-old girl. She is a native and citizen of El Salvador. She is an
asylum-seeking child.
7. G.M.C.B.’s parents reside in Washington, D.C. and are available, now and at all times

since G.M.C.B. has been in the United States, to provide care for their daughter.

8. G.M.C.B. was cared for by her aunt in El Salvador. Their household became subject to
severe domestic violence endangering G.M.C.B. and her aunt’s safety. G.M.C.B. describes that
there were “people who had eyes on her,” and that she was no longer safe going to school. As a
result, they came to the border of the United States to seek asylum.

9. On or about June 15, 2019, G.M.C.B. was apprehended by CBP with her aunt and a
female cousin. Their family had sought out U.S. border officials to turn themselves in. That night
G.M.B.C. and her aunt were made to sleep on the floor of a tent. When G.M.C.B. awoke, her
aunt was no longer by her side. See Declaration of Katherine Hagan at ECF No. 1-3 45.

10. Thereafter, G.M.B.C. was instructed. to get into a car by herself. She was not permitted to
remain with her aunt or her cousin. Reflecting upon this moment causes G.M.B.C. great trauma
and pain, as she is often unable to talk about this moment without intense emotion and crying. Id.
11. G.M.B.C. was placed in the Clint Border Station in Clint, Texas following this period in a
tent. On information and belief, this occurred on June 16, 2019. While she was detained at this
border station, she was without her accompanying family and was placed with hundreds of other
children in deplorable conditions.

12. In detention, her wrist was adorned by a green wristband. On the wristband were written
the words “US PARENT” and accompanying that phrase was her father’s phone number in the

United States. See Declaration of Clara Long at ECF No. 1-4. CBP knew at all times that she
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had parents in the United States and failed to use that information to timely conduct a proper
placement.

13. Monitors operating pursuant to the FSA were granted access to the facility and conducted
inspections on or about the week of June 17, 2019. “The situation we found is unacceptable. US
Border Patrol is holding many children, including some who are much too young to take care of
themselves, in jail-like border facilities for weeks at a time without contact with family members,
regular access to showers, clean clothes, toothbrushes, or proper beds. Many are sick. Many,
including children as young as 2 or 3, have been separated from adult caretakers without any
provisions for their care besides the unrelated older children also being held in detention...Some
of the children we spoke with were sleeping on concrete floors and eating the same unpalatable
and unhealthy food for close to a month: instant oatmeal, instant soup and a previously-frozen
burrito. Children should spend no more than a few hours in short-term border jails to be
processed and US law limits their detention under typical circumstances to 72 hours.” See
https://www.cnn.com/2019/06/24/opinions/children-migrant-centers-at-border-long-austin-
hillery/index.html.

14. The inspectors noted that many of the children in Clint, like the Plaintiff, have family and
even parents in the United States. “Based on our interviews, officials at the border seem to be
making no effort to release children to caregivers-- many have parents in the US -- rather than
holding them for weeks in overcrowded cells at the border, incommunicado from their desperate

loved ones.” Jd.’

 

3 Media reports are replete with articles describing the horrendous conditions in Clint. Many are referenced in
Foonote 1. In addition, Elora Mukherjee, a professor at Columbia Law School and the director of the school’s
Immigrants’ Rights Clinic provided a first hand account to the Atlantic, “ Children were dirty, They Were Scared,
They Were Hungry.” She provided her observations, “An overwhelming number of children who I interviewed had
not had an opportunity for a stable shower or bath since crossing the border [days or weeks earlier]. They were
wearing the same clothing that they had crossed the border in. Their clothing was covered in bodily fluids, including
urine and breast milk for the teenage moms who are breastfeeding.

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15, Flores monitors were permitted to meet with G.M.C.B. They have provided sworn
declarations which are being attached to this complaint. See Exhibits 3 & 4. The monitors were
so troubled with the emotional stability of G.M.C.B. that she became labeled in media reports as
the “inconsolable” girl.4

16. G.M.C.B. initially was unable to participate in monitoring, beginning on June 17, 2019.
Declarant Clara Long states that G.M.C.B.’s eyes were “red” and she was “quiet. Upon being
asked a question she began to wail. In fact, not only cry, but to scream in a “high pitched wail”
loudly for 10 to 15 minutes. Because of her inability to remain stable, she was not able to be
interviewed by the inspector at that time. See Declaration of Clara Long at Exhibit 4 { 4-5.

17. Inspectors returned to find G.M.C.B. concerned for her emotional well-being. On
Thursday June 20, 2019, she was again met by inspectors in Clint, Texas. This time she remained

tearful and at times hysterical. She described being separated from her caretaker. She described

 

Nearly every child I spoke with said that they were hungry because they’re being given insufficient food. The food
at Clint is rationed on trays. Everyone gets an identical tray regardless of if you’re a 1 -year-old, or you’re a 17-year-
old, or a breastfeeding teenage mother who has higher caloric needs. The same food is served every single day, and
none of the children receive any fruit and vegetables or any milk... At Clint, I found that hard to do because there
was a stench emanating from some of the children. It was filthy and disgusting and there was, as of last week, a
flu epidemic at Clint and a lice infestation. And children do not have the ability to wash their hands with soap at
Clint.” See https://www.theatlantic.com/family/archive/20 1 9/06/child-detention-centers-immigration-attorney-
interview/592540/.

4 See: https://www.apnews.com/ac73320¢272a4a159f9eaf90ec8502bd Girl who was in gov’t custody inconsolable,
lawyer says. “Attorneys had said the girl seemed to be at high risk for emotional trauma last week, when she was
found hysterical, despondent and unkempt in a Clint, Texas, Border Patrol station... ‘All she can do is cry and
cry so much it sounds like she’s drowning,’ said the girl’s father... The little girl caught the attention of attorneys
interviewing children in the Clint station last week, where they said she burst into tears when they asked her a
question. They called her father after finding his phone number written on a bracelet she wore labeled “U.S.
parent.” But she could barely talk to him on the phone...He said when they spoke Saturday she was coughing
and told him that guards had made her sleep on the floor as punishment for misplacing a lice comb a nurse
had given children in her cell.”

See also: https://www.cnn.com/2019/06/24/opinions/children-migrant-centers-at-border-long-austin-
hillery/index.html. “We went to a border detention center for children. What we saw was awful;” In describing
G.M.C.B. they note “A second-grader we interviewed entered the room silently but burst into tears when we
asked who she traveled with to the US. ‘My aunt,’ she said, with a keening cry. A bracelet on her wrist had
the words "US parent" and a phone number written in permanent marker. We called the number on the spot
and found out that no one had informed her desperate parents where she was being held. Some of the most
emotional moments of our visit came witnessing children speak for the first time with their parents on an attorney's
phone.”
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being punished for losing a comb by CBP officers, wherein they forced her to sleep on a cold tile
floor without a blanket or cover. “She recalled that the guard said in an angry voice, ‘que si no lo
hallabamos que ibamos a quedar sin cama y sin cobija’ [that if we didn’t find it we were going to
end up without beds and without blankets].” See Declaration of Katherine Hagan at Exhibit 3,
6.

18. In recounting the “people” who came into her room, and removed everything, she
became completely distraught. Jd. They even took the blanket that the children had use to hold
up as a “curtain” while a child had to use the bathroom. As a result, they were forced to use the
bathroom in open view.

19. G.M.C.B. requested to take a nap during the inspection visit. She slept with her head
resting on a table for at least 40 minutes, likely due to exhaustion. See Declaration of Katherine
Hagan at Exhibit 3, § 9. Additionally, G.M.C.B. indicated during this visit that she was not
feeling well, and in fact she was dizzy. See Declaration of Katherine Hagan at Exhibit 3, 7 14.
Officers guarding the visit had to be notified that she was in need of medical attention and
sufficient food. Id.

20. On information and belief, G.M.C.B. was briefly taken to a hospital on June 20, 2019 and
diagnosed with Influenza. She was thereafter returned to the deplorable conditions at Clint for
days thereafter. On information and belief, G.M.C.B. was held in Clint and another place in El
Paso (EI Paso 1) for periods of time. She was not placed in an ORR facility until June 25, 2019.
The placement was Upbring in El Paso, a transitional foster care situation. At no time were her
parents called by CBP to offer placement pursuant to the FSA.

21. | G.M.C.B. remains detained at Upbring today, for no rational, lawful or humane reason.

Her only lawful proper placement is, and always has been, with her parents in Washington D.C.
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JURISDICTION
22. The Court has jurisdiction to enjoin unconstitutional action by the Defendant federal

agencies. Trudeau v. Fed. Trade Commn., 456 F.3d 178, 190 (D.C. Cir. 2006). The government
has waived sovereign immunity from suits directly under the Constitution that seek equitable
relief. Jd. at 186 (citing 5 U.S.C. § 702). Plaintiffs invoke this jurisdiction to redress Defendants’
Fifth and Eighth Amendment violations.

STANDARD OF REVIEW

23. “The court considers the same factors in ruling on a motion for a temporary restraining
order and a motion for preliminary injunction.” Baker DC v. Nat’l Labor Relations Bd., 102 F.
Supp. 3d 194, 198 (D.D.C. 2015).

24, Courts “consider four factors when deciding whether to grant a preliminary injunction:
whether the plaintiff will be irreparably harmed if the injunction does not issue; whether the
defendant will be harmed if the injunction does issue; whether the public interest will be served
by the injunction; and whether the plaintiff is likely to prevail on the merits.” Univ. of Tex. v.
Camenisch, 451 U.S. 390, 392 (1981).

25. These factors “interrelate on a sliding scale and must be balanced against each other.”
Davenport v. Int’] Bhd. of Teamsters, 166 F.3d 356, 361 (D.C. Cir. 1999). “A district court must
balance the strengths of the requesting party’s arguments in each of the four required areas.”
Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006).

26. The court may include mandatory relief regarding immigration detention in a temporary
restraining order. See, e.g., You v. Nielsen, 321 F. Supp. 3d 451, 469 (S.D.N.Y. Aug. 2, 2018);

Mahmood v. Nielsen, 17-cv-8233, 2018 WL 2148439 at *2 (S.D.N.Y. May 9, 2018).
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ARGUMENT

27. Plaintiffs seek their lawful entitlement to the law, and that the law be lawfully applied —
Defendants arbitrary and capricious decision to designate G.M.C.B. as a UAC is clearly contrary
to law. Defendants cruel] and harmful treatment of G.M.C.B. in violation of the FSA, the
Trafficking Victims Protection Reauthorization Act (“TVPRA”) and HSA, the Fifth and Eighth
Amendments, and basic human decency in their conscious shockingly appalling treatment of
G.M.C.B. during her prolonged unlawful detention is served by no legitimate government
purpose, and all factors for issuing granting immediate relief favor Plaintiffs in the most
profound manner.

Plaintiffs are Suffering Immediate, Ongoing, Irreparable Harm

28. The facts surrounding Defendants’ treatment of the Plaintiffs have profoundly shocked
the national conscious — for good reason. Defendants’ treatment of G.M.C.B. and her parents are
not simply unlawful, but malevolent and despicable — no vulnerable seven-year old child,
recently torn from her caretaker, who contracts influenza due to the unsafe and unsanitary
conditions in detention — jailed in facilities for 10-days that are only permitted to be used for 72-
hours — should be forced to sleep on the cold floor without any blankets or bedding as
punishment for losing a comb provided to a crowded room of children to share during a lice
outbreak. The government utterly failed in treating G.M.C.B. with any manner of dignity. No
legitimate or rational purpose supports doing anything other than immediately returning
G.M.C.B. to the care of her parents, uniformly depicting irreparable harm that justice

29. The trauma suffered by G.M.C.B., as detailed above, has been profound, and the
encroachment on her right to family unity, the multiple violations of the FSA calculated to
protect vulnerable children such as G.M.C.B, demonstrate irreparable harm and a plea of

humanity to law to immediately stop the continuing injustice.

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30. Courts uniformly recognize that separation causes trauma, as does uncertainty about
family members. See also Stanley v. Illinois, 405 U.S. 645, 647 (1972) (“[P]etitioner suffers
from the deprivation of h[er] child[], and the child[] suffer[s] from uncertainty and dislocation.”);
J.B. v. Washington County, 127 F.3d 919, 925 (10th Cir.1997) (“[F]orced separation of parent
from child, even for a short time, represents a serious infringement upon both the parents’ and
child's rights.”); Nicolson v. Pappalardo, 685 F. Supp. 2d 142, 145-46 (D. Me. 2010) (“[e]very
additional day” of separation causes further harm).

31.  “[L]oss of constitutional freedoms, for even minimal periods of time, unquestionably
constitutes irreparable injury.” Mills v. Dist. of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009)
(citations omitted). As a result, “[w]hen an alleged deprivation of a constitutional right is
involved, most courts hold that no further showing of irreparable injury is necessary.” L1A
WRIGHT & MILLER, FED. PRAC. &PROC. § 2948.1 (2d ed. 2004).

32. “Except in the most dreadful circumstances, a court should not countenance the cruelty of
the separation of a parent and child by the government.” D.J.C.V. v. U.S. Immigration and
Customs Enforcement, No. 18 Civ. 9115, ECF No. 21 (S.D.N.Y. Oct. 15, 2018) (Hellerstein,

J.); see also Cruz Paz v. Lloyd et al., No. 18 Civ. 8993, ECF No. 11 (S.D.N.Y. Oct. 5, 2018)
(Crotty, J.); Paixao v. Sessions et al., No. 18 Civ. 4591, ECF No. 16 (N.D. Ill. July 5, 2018)
(Shah, J.); and Souza v. Sessions et al., No. 18 Civ. 4412, ECF No. 23 (N.D. Ill. Jun. 26, 2018)
(Shah, J.).

33. Plaintiffs therefore clearly establish continuing irreparable harm that strongly favors the

Court granting their request for immediate relief.
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Plaintiffs Are Likely to Success on the Merits of their Claims

34. Plaintiffs will almost certainly prevail on their claims that G.M.C.B.’s detention by ORR
is not lawful because she is not a UAC, and therefore no provision of the HSA or TVPRA
empowers ORR to detain a child who, like GMCB, is not a UAC. Without statutory power,

ORR has no authority over G.M.C.B. See La. Pub. Serv. Comm'n vy. FCC, 476 US. 355, 374,
(1986). (“But ‘an agency literally has no power to act .. . unless and until Congress confers
power upon it.”) Accordingly, G.M.C.B. must be immediately released into the custody of her
parents who seek to provide her the care she has not been provided by Defendants.

35. Pursuant to the HSA and TVPRA, ORR is responsible for the custody and placement of
UACs. The HSA defines a UAC as a child who has “no parent or legal guardian in the United
States; or (ii) no parent or legal guardian in the United States is available to provide care and
physical custody.” 6 U.S.C. § 279(g)(2).

36. | The TVPRA incorporates the HSA’s definition of UAC by reference. See 8 U.S.C. §
1232(g). Given that G.M.C.B.’s parents are present in the United States and desperate to provide
her care, she is not a UAC. See 6 U.S.C. § 279(g)(2)(C)@).

37. As the Plaintiffs’ are almost certain to succeed on establishing the fact that G.M.C.B. is
not a UAC, Plaintiffs are very likely to succeed on challenging ORR’s detention or conditions
imposed prior to releasing G.M.C.B. as no provision of the HSA or TVPRA empower ORR to
detain a child who, like G.M.C.B., is not a UAC.

38. Plaintiffs are also likely to succeed on the merits of their challenges to Defendants’
violations of the FSA. Defendants have consistently violated the FSA for years. See Flores v.
Barr et al., No. Civ. 85-4544-DMG, Order (C.D. Cal. June 28, 2019) (detailing prior court orders

finding CBP continuing to breach FSA over time, and plaintiffs’ claims that CBP continued to

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commit the same violations). Indeed, they continue to do so with regards to G.M.C.B. today, and
every second she is not placed with her mother and father.
39. Finally, Plaintiffs will also succeed on their claims that Defendants have violated the
Fifth and Eighth Amendments. The punishment of a seven-year old recently diagnosed with
influenzas of being forced to sleep on the cold tile floor for losing a comb by a CBP officer is
conscious shocking, cruel, unusual, and outrageous government conduct in violation of the Fifth
and Eighth Amendments.
The Balance of Harms and Public Interest Favor Ending Defendants Cruel Separation of
Plaintiffs’ Family
40. The government itself, of which Defendants are a part, has an important interest in
promoting family integrity:

the state also shares the interest of the parent and child in their

family’s integrity, see Santosky [v. Kramer, 455 U.S. 745, 766-67

(1982)] (“the parens patriae interest favors preservation, not

severance of natural familial bonds”), because the welfare of the

state depends in large part on the strength of the family.
Jordan by Jordan v. Jackson, 15 F.3d 333, 346 (4th Cir. 1994); see also id. (“The forced
separation of parent from child, even for a short time, represents a serious impairment on
[parental] rights.”). This basic commitment to family values, enshrined in our Constitution,
expresses the public interest in this case. See League of Women Voters of U.S. v. Newby, 838
F.3d 1, 12 (D.C. Cir. 2016) (“[T]here is a substantial public interest ‘in having governmental

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agencies abide by the federal laws that govern their existence and operations.’”) (citation
omitted).

41. | Defendants cannot name any harm that they could face by an order requiring them to

comply with the law and immediately de-designate G.M.C.B. as a UAC, release her from ORR

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custody, to effectuate a return to the status quo ex ante. The Defendants have wholly lost

credibility as to any argument in delaying reuniting the Plaintiffs’ family due to any purported

safety or health concerns.

CONCLUSION

42. Plaintiffs urge the Court to enter immediate relief and order the de-designation of

G.M.C.B. as a UAC and the reunification of Plaintiffs’ family while the other claims in their

Petition are adjudicated by the Court.

Respectfully submitted this 1st day of July, 2019.

Respectfully Submitted,

By:

/s/ Benjamin G. Messer

 

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ATTORNEYS FOR THE PLAINTIFF
* Motions pro hac vice forthcoming

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CERTIFICATE OF NOTICE TO DEFENDANTS
I, Benjamin G. Messer, counsel for Plaintiffs, certify that I took the following actions to furnish
the information and documents to the adverse parties as required by Local Civil Rule 65.1 (a):
On June 28, 2018, I informed Sarah B. Fabian, Senior Litigation Counsel in the U.S. Department of
Justice’s Office of Immigration Litigation by email on sarah.b.fabian@usdoj.gov. J informed Ms.
Fabian that I represent the Plaintiffs in a case. I indicated that Plaintiffs intend to seek a temporary
restraining order and offered to email her all filings to date, or to communicate this information to
any other appropriate counsel at Department of Justice. Ms. Fabien trespended.that dA no J res prone
[XXXKXXKXKXKKKXXKXX]
If the Court sets this application for hearing, undersigned counsel will immediately notify Ms. Fabian
by email and telephone.
I also certify that I will serve Defendants with all documents as required by the Federal Rules of

Civil Procedure.

/s/ Benjamin G. Messer
Benjamin G. Messer (DC Bar No. 1026815)

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

H.U.C.U. et al. ,
Plaintiffs,
-against-
BARR et al., Case No.
Defendants. [PROPOSED] ORDER

 

 

Upon consideration of Petitioners’ Application for a Temporary Restraining Order pursuant to
pursuant to Federal Rule of Civil Procedure 65(b) and Local Civil Rule 65.1(a), the Petition for
Judicial Review of Placement Determination Pursuant to Flores Settlement Agreement and
Complaint Seeking Declaratory and Injunctive Relief (“Petition”) (ECF No. 1) and exhibits

thereto, IT IS HEREBY ORDERED that:

1. Defendants are ORDERED to de-designate G.M.C.B. as a “unaccompanied alien child”
(“UAC”);

2. Defendants are ORDERED to return Plaintiffs to the status quo ex ante, in which
G.M.C.B. has not been designated a UAC or placed in a restrictive detention setting —
permiting her to immediately be reunited with her parents;

3. Defendants are ORDERED to provide Plaintiffs with frequent, easily facilitated, and
confidential communication pending their reunion.

4. Defendants shall file a return on Plaintiffs’ Petition by ;
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. Plaintiffs shall have the opportunity to file a reply, if any, by ;
. This matter shall be heard by the Court on ;

. And such other and further relief as the Court may find appropriate;

. It is further ORDERED that security in the amount of $ be posted by the
Petitioner priorto.———_at__——_—io’ clock in the noon of that day;

. Service of this Order shall be effected by Petitioner by electronic mail on the United
States Attorney for the District of Columbia by _am/pm on and shall
constitute good and sufficient service.

IT IS SO ORDERED:

Dated:

 

UNITED STATES DISTRICT JUDGE
